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                       UNITED STATES DISTRICT COURT FOR THE
                            DISTRICT OF MASSACHUSETTS


 COMMONWEALTH OF MASSACHUSETTS,
                                                           Civil Action No. 1:20-cv-11600-LTS
                              Plaintiff,

                         v.

 UNITED STATES DEPARTMENT OF
 EDUCATION; and PHIL ROSENFELT, in his
 official capacity as Acting Secretary of the
 United States Department of Education,1

                          Defendants.




 FARAH NOERAND,
                                                           Civil Action No. 1:20-cv-11271-LTS
                              Plaintiff,

                         v.

 UNITED STATES DEPARTMENT OF
 EDUCATION; and PHILIP ROSENFELT, in his
 official capacity as Acting Secretary of the
 United States Department of Education,

                              Defendants.

           Government’s Assented-To Motion to Hold Cases in Abeyance for 60 Days

       On January 20, 2021, new leadership assumed responsibility for the United States

Department of Education To afford these officials sufficient time to become familiar with the




       1
           Pursuant to Fed. R. Civ. P. 25(d), Philip Rosenfelt is substituted for Betsy DeVos.
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issues in these cases, Defendants request a sixty day extension of the January 27, 2021, deadline

to file the parties’ joint report regarding the schedule for the cases on or before March 26, 2021.

       Counsel for the plaintiffs have assented to this motion.


                                              Respectfully submitted,

                                              Andrew E. Lelling
                                              United States Attorney


                                              /s/ Annapurna Balakrishna
                                              Annapurna Balakrishna (Bar Roll No. 655051)
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                                      Rule 7.1 Certification

       I certify that I conferred with counsel before filing this motion.

                                              /s/ Annapurna Balakrishna
                                              Annapurna Balakrishna
                                              Assistant United States Attorney




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